         Case 1:06-mc-10427-PBS Document 23 Filed 09/25/07 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )      DOCKET NO. 06-10427-PBS
                                                   )
    JEFFREY SHIELDS                                )
                                                   )
    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )      DOCKET NO. 06-10439-PBS
                                                   )
    JOEL WETMORE                                   )
                                                   )


    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )      DOCKET NO. 06-10449-PBS
                                                   )
    CHARLES PEAVY                                  )
                                                   )

                     JOINT MOTION FOR ADDITIONAL TIME TO FILE
                            POST-HEARING MEMORANDA


       Counsel for defendants Jeffrey Shields, Joel Wetmore, and Charles Peavy and the

Assistant United States Attorneys assigned to these cases, Mark Quinlivan and Rayford Farquhar,

jointly request that this Court allow both sides an additional week to file their post-hearing

memoranda. The memoranda were due, Monday, September 24; counsel ask the Court to permit

them to file the memoranda on Monday, October 1.
         Case 1:06-mc-10427-PBS Document 23 Filed 09/25/07 Page 2 of 2




                                                         JEFFREY SHIELDS
                                                         JOEL WETMORE
                                                         CHARLES PEAVY
                                                         By their attorneys,

                                                         /s/ Page Kelley
                                                         Page Kelley
                                                           B.B.O. #548237
                                                         William Fick
                                                           B.B.O. #650562
                                                         Federal Defender Office
                                                         408 Atlantic Avenue, 3rd Floor
                                                         Boston, MA 02110
                                                         Tel: 617-223-8061



                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on September 25,
2007.

                                                      /s/ Page Kelley
                                                      Page Kelley
